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                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF OHIO
                              EASTERN DIVISION


UNITED STATES OF AMERICA,                   )        CASE NO. 1:11CR91-18
                                            )
                       PLAINTIFF,           )        JUDGE SARA LIOI
                                            )
vs.                                         )
                                            )        ORDER
CHRISTOPHER MILLER,                         )
                                            )
                                            )
                      DEFENDANT.            )

               This matter is before the Court upon Magistrate Judge Kenneth S.

McHargh's Report and Recommendation that the Court ACCEPT Defendant Christopher

Miller's ("Defendant") plea of guilty and enter a finding of guilty against Defendant.

(Doc. No. 247.)

               On March 8, 2011, the government filed an Indictment against Defendant.

(Doc. No. 1.) On April 28, 2011, this Court issued an order assigning this case to

Magistrate Judge McHargh for the purpose of receiving Defendant's guilty plea. (Doc.

No. 209.)

               On May 5, 2011, a hearing was held in which Defendant entered a plea of

guilty to Counts 1 and 6 of the Indictment, charging him with conspiracy to distribute less

than 500 grams of cocaine, in violation of 21 U.S.C. Section 846, and possession of

cocaine with intent to distribute, in violation of 21 U.S.C. Section 841(a)(1), respectively.

Magistrate Judge McHargh received Defendant's guilty plea and issued a Report and

Recommendation ("R&R") recommending that this Court accept the plea and enter a
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finding of guilty. (Doc. No. 247.)

                Neither party objected to the Magistrate Judge's R&R in the fourteen days

after it was issued.

                Upon de novo review of the record, the Magistrate Judge's R&R is

ADOPTED. Specifically, the Court finds as follows: that the defendant is competent to

enter a plea, that he understands his constitutional rights, that he is aware of the

consequences of entering a plea, and that there is an adequate factual basis for the plea.

The Court further finds that the plea was entered knowingly, intelligently, and

voluntarily. Accordingly, the Defendant's plea of guilty is APPROVED.

                Therefore, the Defendant is adjudged guilty of Counts 1 and 6 in violation

of 21 U.S.C. Sections 846 and 841(a)(1). The sentencing will be scheduled at a later date.

                IT IS SO ORDERED.



Dated: July 18, 2011
                                              HONORABLE SARA LIOI
                                              UNITED STATES DISTRICT JUDGE
